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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                               §
In re:                                         § Chapter 7
                                               §
ALEXANDER E. JONES,                            § Case No. 22-33553 (CML)
                                               §
               Debtor.                         §
                                               §
                                               §

             TRUSTEE’S EMERGENCY MOTION TO STRIKE
          ALEXANDER E. JONES RESPONSE AND OBJECTION TO
     THE TRUSTEE’S EXPEDITED MOTION FOR ENTRY OF AN ORDER IN
   FURTHERANCE OF THE SALE OF ASSETS OF FREE SPEECH SYSTEMS, LLC
                    [Relates to Docket Nos. 962 & 969]

Emergency relief has been requested. Relief is requested not later than Monday, December 9,
2024, at 1:00 p.m.

If you object to the relief requested or you believe that emergency consideration is not
warranted, you must appear at the hearing if one is set, or file a written response prior to the
date that relief is requested in the preceding paragraph. Otherwise, the Court may treat the
pleading as unopposed and grant the relief requested.

The Trustee requests that this motion be considered prior to hearings currently scheduled in
this case on Monday, December 9, 2024, at 1:00 p.m. in Courtroom 401, fourth floor, 515
Rusk, Houston, Texas 77002.

You may participate in the hearing either in person or by an audio and video connection

Audio communication will be by use of the Court’s dial-in facility. You may access the facility
at 832-917-1510. Once connected, you will be asked to enter the conference room number.
Judge Lopez’s conference room number is 590153. Video communication will be by use of the
GoTo platform. Connect via the free GoTo application or click the link on Judge Lopez’s
home page. The meeting code is “JudgeLopez.” Click the settings icon in the upper right
corner and enter your name under the personal information setting.

Hearing appearances must be made electronically in advance of both electronic and in-person
hearings. To make your appearance, click the “Electronic Appearance” link on Judge
Lopez’s home page. Select the case name, complete the required fields and click “submit” to
complete your appearance.




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           Christopher R. Murray, the Chapter 7 Trustee (the “Trustee”) for the bankruptcy estate of

Alexander E. Jones (“Jones” or the “Debtor”) files this emergency motion (the “Motion”) seeking

to strike the Alexander E. Jones Response and Objection to the Trustee’s Expedited Motion for

Entry of an Order in Furtherance of the Sale of Assets of Free Speech Systems, LLC [Docket No.

962] (the “Debtor’s Objection”) and the Corrected Alexander E. Jones Response and Objection to

the Trustee’s Expedited Motion for Entry of an Order in Furtherance of the Sale of Assets of Free

Speech Systems, LLC [Docket No. 969] (the “Untimely Objection”) filed by the Debtor. In support

of this Motion, the Trustee respectfully states as follows:

                                        PRELIMINARY STATEMENT

           1.       The Debtor does not own the assets the Trustee seeks to sell pursuant to the Sale

Motion, they are property of FSS and his personal bankruptcy estate—which he notably failed to

include on his sworn Schedules notwithstanding being given multiple opportunities to amend.1

Nor does the Debtor own the equity in FSS Systems, LLC, which also constitutes property of the

Debtor’s personal bankruptcy estate. The Debtor’s estate and its assets are encumbered by

liquidated claims exceeding $1.4 billion and, even in a best-case scenario, unsecured creditors are

likely to receive less than a 1% return in the Debtor’s chapter 7 case. Accordingly, the relief

requested in the Sale Motion has no conceivable pecuniary impact on the Debtor.

           2.       Despite this, the Debtor lodges an entirely baseless objection to the Sale Motion

seeking to derail a Court-approved sale process and supplant both the Trustee’s business judgment

and the Trustee’s authority granted under the Bankruptcy Code and Supplemental Dismissal Order

(which the Debtor also never objected to or appealed). For good reason, the Bankruptcy Code

does not leave room for such conduct. In a chapter 7 bankruptcy case, an insolvent debtor places


1
    Capitalized terms in this Preliminary Statement carry the meanings ascribed to them in the remainder of this Motion.


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his non-exempt assets in the hands of a trustee who administers them for the benefit of creditors.

Under this framework, the debtor’s wants and desires are irrelevant to the fundamental objective

of achieving the best result for creditors. Nothing in the Debtor’s Objection dictates otherwise.

Under any rational analysis, the Debtor is hopelessly insolvent, he lacks standing to oppose the

Sale motion, and his Objection should be stricken.

                                                 BACKGROUND

           3.       The facts set forth in paragraphs 7–44 in the Trustee’s Expedited Motion for Entry

of an Order in Furtherance of the Sale of Assets of Free Speech Systems, LLC [Docket No. 915]

(the “Sale Motion”) are fully incorporated as if restated herein.2

           4.       On November 27, 2024, the Trustee filed a Notice of Hybrid Hearing on Trustee’s

Expedited Motion for Entry of an Order in Furtherance of the Sale of Assets of Free Speech

Systems, LLC [Docket No. 944], which provided notice of a December 9, 2024 hearing on the Sale

Motion (the “Sale Hearing”) as well as the December 6, 2024 deadline to file any objections to the

Sale Motion imposed by the Court at the November 25, 2024 hearing.

           5.       On December 6, 2024, Jones filed the Debtor’s Objection. That same day, the

Connecticut appeals court issued an opinion affirming in part and reversing in part. Specifically,

the court upheld the award of $965,000,000 in compensatory damages and $321,650,000 in

common-law punitive damages, but reversed the award of $150,000,000 in statutory punitive

damages (leaving roughly $1.3 billion of the judgment against Jones intact). See Lafferty. v. Jones,

Case Nos. AC 46131, 446132 & 46133 (Conn. App. Dec. 10, 2024), attached hereto as Exhibit A

(the “Connecticut Opinion”).

           6.       During the evening on December 8, 2024, Jones filed the Untimely Objection.


2
    Capitalized terms not otherwise defined herein carry the meanings ascribed to them in the Sale Motion.


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                                            ARGUMENT

I.        The Trustee Does Not Seek to Sell Non-Estate or Exempt Property

          7.      Jones suggests that the Trustee is attempting to sell the Jones Persona and Jones IP

Rights but that he is prohibited from doing so because he alleges they are his personal rights and

are exempt property. See Plaintiffs’ Complaint and Emergency Application for Temporary

Restraining Order and Preliminary Injunction Pursuant to Bankruptcy Rule 7065 [Docket No.

917] (the “Emergency Application”); see also Debtor’s Objection at 1 (incorporating the

arguments from Adv. P. No. 24-03238)

          8.      As an initial matter, Jones mischaracterizes the Sale Motion as seeking to dispose

of the “Jones Persona” and “Jones IP Rights,” which Jones defines as follows:

          (i) internet domain names containing in whole or in part, the name Jones, “Alex
          Jones,” ‘Alex E. Jones,” (ii) Jones’s image or likeness, (iii) Jones’s unique voice
          (iv) other features of Jones which are unique, defining and associated with him
          (which are called the “Jones Persona”), and (v) the program and broadcasting
          content Jones has made or which he has produced over the years for all of his media
          programs and outlets (which are herein called along with the Jones Persona, the
          “Jones IP Rights”).

See Emergency Application at 2 n.1. The plain language of the Sale Motion and the Asset Purchase

Agreement provides not only that no assets falling within categories (ii) to (iv) are in anyway

involved in the sale, but the Assert Purchase Agreement specifically defined “Excluded Assets” to

include the domain names fitting within (i). See Asset Purchase Agreement at Sched. 1.1(b)(xi).

And while the Trustee does seek to sell certain intellectual property rights related to FSS’s back

catalog of videos and broadcasts (collectively, the “FSS IP Assets”), as set forth below, Jones is

incorrect that such assets constitute non-estate or exempt property.

     A.        The FSS IP Assets Are Estate Property

          9.      Property of the estate includes “all legal or equitable interests of the debtor in

property as of the commencement of the case.” 11 U.S.C. § 541(a)(1). The Fifth Circuit instructs

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courts to read section 541 “broadly . . . to ‘include all kinds of property, including tangible or

intangible property [and] causes of action.” In re Equinox Oil Co., Inc., 300 F.3d 614, 618 (5th

Cir. 2002) (quotation omitted); see also In re S. Coast Supply Co., 91 F.4th 376, 381–82 (5th Cir.

2024) (noting that Congress intended a broad range of property to be included in the estate and

that “[t]he conditional, future, speculative, or equitable nature of an interest does not prevent it

from being property of the bankruptcy estate,” nor does the fact that rights were created by the

Bankruptcy Code (quotation omitted)). This is because “[s]weeping all of the debtor’s property

into the bankruptcy estate created at filing is the means by which the Code achieves effective and

equitable bankruptcy administration.” In re OGA Charters, L.L.C., 901 F.3d 599, 605 (5th Cir.

2018) (quotation omitted). Thus, “[s]ection 541 . . . provides that virtually all of a debtor’s assets,

including causes of action belonging to the debtor at the commencement of the bankruptcy case,

vest in the bankruptcy estate upon the filing of a bankruptcy petition.” Kane v. National Union

Fire Insurance Co., 535 F.3d 380, 385 (5th Cir. 2008). Indeed, as this Court has observed, “‘All’

is a broad term, but not an ambiguous one. We all know what ‘all’ means.” In re Envision

Healthcare Corp., 655 B.R. 701, 709–10 (Bankr. S.D. Tex. 2023) (Lopez, J.).

       10.     Jones contends that the FSS IP Assets somehow escaped section 541’s grasp.

However, section 541 recognizes no such exception for rights associated with digital assets, which

instead become property of the estate like virtually all other property of the Debtor. See, e.g., In

re CTLI, LLC, 528 B.R. 359, 366 (Bankr. S.D. Tex. 2015) (Bohm, J.) (finding social media

accounts were property of the estate); In re Vital Pharm., 652 B.R. 392, 413 (Bankr. S.D. Fla.

2023) (same). It is well settled that copyrights and other intangible assets belong to the estate—

even if they contain an individual debtor’s name. See, e.g., In re Money Ctrs. of Am., 2020 WL

6709971, at *6 (D. Del. Nov. 16, 2020) (concluding that the “chriswolfington.com domain name



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is property of [the debtor’s] bankruptcy estate that he was required to disclose”); In re Larry

Koenig & Assoc., LLC, 2004 WL 3244582, at *7–8 (Bankr. M.D. La. Mar. 31, 2004) (observing

that intellectual property rights associated with books, manuals audio and videotapes created by a

debtor in connection with his parenting seminar programs were property of his estate); In re Dillon,

219 B.R. 781, 784 (Bankr. M.D. Tenn. 1998) (finding that songwriters rights were estate

property).3 After all, “in most states, including Texas, the persona is recognized as a property

interest, and therefore that falls within the broad reach of ‘property of the estate.’” CTLI, 528 B.R.

at 367 (quotation omitted). If Congress intended to exclude “persona” and “likeness” rights from

estate property, it could have done so. Even if an interest in property is excepted from inclusion

in the estate, debtors are not relieved from the obligation to fully disclose all assets in which they

have an interest. Jones has no excuse for failing for disclose his belated claim to the so-called

Jones Persona and Jones IP Rights.

         11.      As the Trustee seeks only to sell estate property and (as discussed more fully below)

because Jones is hopelessly insolvent, he lacks standing with respect to the Objection. See, e.g.,

In re Baroni, 643 B.R. 253, 285–86 (Bankr. C.D. Cal. 2022) (“[U]nless they demonstrate a

pecuniary interest in the bankruptcy estate or in the asset or debt at issue, chapter 7 debtors lack

standing to . . . object to the sale of assets of the estate.”). Jones’ complaints that the sale would

lead to the “destruction of the Jones’ property and property rights in both FSS and those jointly-

owned assets” thus ring hollow as those are no longer his property rights to protect. Debtor’s




3
  See also See, e.g., Money Ctrs., 2020 WL 6709971, at *6 (concluding that a domain name must be listed on the
debtor’s asset schedules and declining discharge under section 727 based on the debtor’s failure to schedule a domain
name); In re Old Mkt. Group Holdings Corp., 2022 WL 4371544, at *8 (Bankr. S.D.N.Y. Sept. 21, 2022) (“[P]roperty
of the estate encompasses both a debtor's tangible and intangible property, including ‘the debtor’s intellectual property,
such as interests in patents, trademarks and copyrights.’” (quotation omitted)).


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Objection ¶ 14; cf. Supplemental Dismissal Order (providing that all assets of FSS’s estate are

deemed property of Jones’ estate and subject to the Trustee’s control).

    B.         Jones’ Failure to Schedule His Alleged Property Is Fatal to His Theories of
               Standing

         12.      It is beyond peradventure that Jones was required to schedule the FSS IP Assets if,

as he contends, they are his property—and indeed, so personal to him that they cannot be owned

by another.4 See In re Park, 246 B.R. 837, 842 (Bankr. E.D. Tex. 2000) (“[T]he debtor is required

to file comprehensive schedules . . . . The obligation is strict and the law requires such schedules

to be as complete and accurate as possible. The burden is on the debtors to complete their schedules

accurately.”). However, notwithstanding multiple extensions and opportunities to make full and

accurate disclosure of his property interests, Jones did not schedule the FSS IP Assets as his

personal assets. See Schedules A/B, C, D, E/F, G, H, I, J, and Summary of Assets and Liabilities

[Docket No. 749] (the “Schedules”). Indeed, Jones affirmatively represented he had no intellectual

property interests in his sworn Schedules.




See Schedules at p. 19 (emphasis added).

         13.      FFS, on the other hand, scheduled a number of the FSS IP Assets, such as the

InfoWars and the Alex Jones Show Wordmarks, which are property of this estate and subject to



4
  See also In re Comu, 2014 WL 3339593, at *11 n.208 (Bankr. N.D. Tex. July 8, 2014) (“Domain names are assets
that must be disclosed in bankruptcy.”); In re Luby, 438 B.R. 817, 829–30 (Bankr. E.D. Pa. 2010) (denying discharge
for failing to schedule, inter alia, domain names).


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the Trustee’s control pursuant to the Conversion Order, the Dismissal Order, and the Supplemental

Dismissal Order.5 Jones, having signed his Schedules, certified under penalty of perjury that the

summary and Schedules filed with his declaration were true and correct. See Schedules at p. 54.

He takes a different position now in an unsworn pleading because it is expedient for him to do so.

Concealment of assets and such gamesmanship is strictly prohibited under the Bankruptcy Code

and related laws.

         14.      Notably, Jones’s subterfuge is not limited to misrepresentations in his sworn

schedules; but extends to other conduct related to this bankruptcy case.

    a. First, on June 21, 2024, just after the Court entered the Dismissal Order in the FSS
       Bankruptcy Case, the Texas Families obtained an ex parte turnover order from the state
       district court in Travis County, Texas (the “Turnover Order”) ordering FSS to immediately
       turn over all of its assets. Ultimately, the Court instructed that the Turnover Order had no
       effect on the Trustee’s ability to sell FSS assets. Jones did nothing to oppose the Turnover
       Order or to prevent the turnover and transfer of intellectual property rights he now claims
       are his personal property and/or are jointly owned property with FSS.

    b. Second, Jones has asked this Court to deny the Sale Motion and authorize the Trustee to
       consummate a sale with the Back-Up Bidder, First United American Companies, LLC
       (“FUAC”). See Debtor’s Objection ¶ 48. FUAC submitted a bid to acquire the very same
       assets as the Successful Bidder, including but not limited to the FSS IP Assets Jones so
       fervently contends are not transferable. Jones cannot have his cake and eat it too.

         15.      Jones expects this Court to overlook his disregard for the obligations he has as a

debtor under section 521 and related laws. Remarkably, he appears to believe this Court will

reward his misconduct in this Bankruptcy Case by denying the proposed sale to the Successful

Bidder and authorizing a sale to the allied Back-Up Bidder. The Debtor’s Objection is filed for an

improper purpose—his belated assertion of certain property interests in which he previously

disavowed any interest (due to his omissions from sworn schedules) is plainly self-serving. Jones


5
  It is most curious that Jones did not oppose FSS’s characterization of FSS IP Assets on its schedules. If he believed
he had any rights in assets claimed by FSS as its property, he could have disclosed any such disputed interest in the
schedules he filed upon conversion of his personal chapter 7 case. He did not. And the parties and the Court have
relied, to their detriment, upon his sworn (mis)representations.


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wants one thing: to help FUAC acquire FSS assets with an objectively inferior bid so that he can

continue to create content under the “InfoWars” brand. Jones is so hopelessly insolvent that he

has no real motivation to consider the best interests of creditors—he is singularly focused on what

is in his own best interests. This is precisely the reason that a debtor with no pecuniary interest

does not and should not have standing to object to the sale of estate assets under the Bankruptcy

Code. Jones’s failure to schedule the FSS IP Assets, much less claim any property exemption,

precludes him from now asserting an interest in them to try to thwart a sale that is in the best

interests of creditors.

    1.         Assets that Jones Failed to Schedule Cannot Revert to Him

         16.      Jones suggests that if he prevails on his appeal of the state court judgments, he will

be entitled to a return of the FSS IP Assets and therefore, because the sale of the assets would harm

them, he has a pecuniary interest in the sale. See Debtor’s Objection ¶ 14. Although he neglects

to specify the exact mechanism, it appears he is suggesting that once all of his debts are paid, the

remaining estate property will revert to him under section 554(c). This argument fails.

         17.      Upon filing for bankruptcy, Jones had an “affirmative duty” under the Bankruptcy

Code “to schedule his assets and liabilities and cooperate with the trustee.” In re McLain, 516

F.3d 301, 315 (5th Cir. 2008). His failure to do so with respect to the FSS IP Assets means that

“those assets continue to belong to the bankruptcy estate and do not revert to the debtor upon

discharge.” Id. at 315. Jones cannot benefit from his abdication of his obligations as a debtor. See

Love v. Tyson Foods, Inc., 677 F.3d 258, 269 (5th Cir. 2012) (“If property was not properly

scheduled by the debtor, it is not automatically abandoned at the end of the case . . . . Even after

the case is closed, the estate continues to retain its interest in unscheduled property.” (quotation

omitted)). Accordingly, Jones cannot claim a contingent future springing “reversionary” interest

in the FSS IP Assets to manufacture standing to object to the proposed sale.

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       2.         Jones Cannot Claim an Exemption with Respect to the FSS IP Assets

            18.      Alternatively, Jones contends that the FSS IP Assets are his exempt property. This

argument also fails:

       a. First, Jones’s claimed exemptions have not yet been allowed, so none of his property is
          currently exempt.6

       b. Second, Jones elected to use Texas state exemptions pursuant to section 522(b)(3). There
          are no known property exemptions under Texas law that would exempt the FSS IP Assets.

       c. Third, Jones did not schedule any interest in the FSS IP Assets (or any intellectual property)
          in his Schedule A/B (property schedules) or his Schedule C (exempt property).7 It is
          axiomatic that for a debtor to have exempt property, they must (at the very least) actually
          claim an exemption for that property.

            19.      Indeed, “[i]t is elementary that assets not scheduled and not claimed as exempt

cannot be allowed as exempt.” In re Reeves, 509 B.R. 35, 73 (Bankr. S.D. Tex. 2014) (quotation

omitted). Courts frequently apply equitable principles, such as the doctrine of judicial estoppel, to

prevent debtors from making assertions that are at odds with their bankruptcy schedules.8 See,

e.g., In re Coastal Plains, Inc., 179 F.3d 197, 206–07 (5th Cir. 1999); In re DeRosa-Grund, 544

B.R. 339, 384–85 (Bankr. S.D. Tex. 2016) (exercising its section 105 powers and concluding that

a debtor was judicially estopped from claiming a previously undisclosed asset as exempt property);

In re Walker, 323 B.R. 188, 195–98 (Bankr. S.D. Tex. 2005). After all, the bankruptcy system

relies on accurate, complete, and timely disclosures of information, and courts do not take a



6
 See Stipulation and Agreed Order Extending the Deadline to Object to Debtor’s Claimed Exemptions [Docket No.
945] (extending the objection deadline to January 13, 2025).

7
    See Schedules at p. 19; see also Schedules at p. 26.

8
 See also DeRosa-Grund, 544 B.R. at 370 (“In a bankruptcy case, judicial estoppel both deters the dishonest debtors—
whose failure to fully and honestly disclose all their assets undermines the integrity of the bankruptcy system—and
protects the rights of creditors to an equitable distribution of the estate's assets.” (quotation omitted)); In re McDowell,
2013 WL 587312 (Bankr. S.D. Tex. Feb. 14, 2013) (“The underlying notion behind applying principles of judicial
estoppel in bankruptcy cases is that ‘the integrity of the bankruptcy system depends on full and honest disclosure by
debtors of all of their assets.’” (quoting In re Coastal Plains, Inc., 179 F.3d 197, 208 (5th Cir. 1999)).


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debtor’s shortcomings in this regard lightly. See Park, 246 B.R. at 843–44. The Debtor’s failure

to schedule or designate any intellectual property rights, much less the FSS IP Assets, is fatal to

Jones’ exemption argument.

II.      The Debtor Has No Pecuniary Interest in the Outcome of the Sale Motion

         20.      “‘Bankruptcy standing’ is a form of prudential standing that is more narrow and

exacting than constitutional standing under Article III.” In re Howard, 533 B.R. 532, 543 (Bankr.

S.D. Miss. 2015). To appear in a bankruptcy proceeding, including to raise an objection to a

section 363 sale, one must have a pecuniary interest that will be directly and adversely affected

such that it is a “party in interest.” See In re Cyrus II P’ship, 358 B.R. 311, 315 (Bankr. S.D. Tex.

2007) (Isgur, J.); see also In re Adams, 424 B.R. 434, 435 (Bankr. N.D. Ill. 2010) (requiring a

“pecuniary interest in the outcome of the bankruptcy proceedings” to object to a sale (quotation

omitted)); In re Caldor, Inc. NY, 193 B.R. 182, 187 (Bankr. S.D.N.Y. 1996) (same).

         21.      In fact, chapter 7 debtors rarely possess a sufficient pecuniary interest in bankruptcy

proceedings to give rise to standing to even object. See, e.g., In re Baroni, 643 B.R. 253, 285–86

(Bankr. C.D. Cal. 2022) (collecting examples of objections for which debtors lack standing); see

also In re Cyrus II P’ship, 358 B.R. at 315 (“Generally, chapter 7 debtors are not considered

persons with a pecuniary interest in the estate.”). The instant case falls well within the “general

rule” that “the debtor in a liquidation proceeding is hopelessly insolvent, and thus has no pecuniary

interest in the administration of the estate.” In re Solomon, 129 F.3d 608, at *6 n.10 (5th Cir.

1997) (unpublished).9 This rule reflects the reality that “no matter how the estate’s assets are




9
  There are limited exceptions to the general rule, such as where there is a non-speculative potential the debtor will
receive a distribution or questions of dischargeability or exempt property, but none are implicated here. See generally
In re Technicool Sys., Inc., 896 F.3d 382, 386 (5th Cir. 2018) (finding no standing where the “speculative prospect of
harm is far from a direct, adverse, pecuniary hit”).


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disbursed by the trustee, no assets will revert to the debtor.” Novoa v. Esparza, 2014 WL

10186158, at *2 (W.D. Tex. Oct. 15, 2014) (quotation omitted). Courts across the nation have

routinely applied this rule to preclude a debtor’s objection to a sale. See, e.g., In re 60 E. 80th St.

Equities, Inc., 218 F.3d 109, 115 (2d Cir. 2000); In re Quanalyze Oil & Gas Corp., 250 B.R. 83,

89–90 (Bankr. W.D. Tex. 2000); In re Hutter, 215 B.R. 308, 312 (Bankr. D. Conn. 1997).

         22.       The Debtor’s Objection relies primarily on Truck Ins. Exch. v. Kaiser Gypsum Co.,

Inc., 602 U.S. 268 (2024), which Jones asserts stands for the proposition that standing requires

only that he be “potentially concerned with, or affected by, a proceeding.” Debtor’s Objection ¶

12. However, Kaiser Gypsum is clearly distinguishable. For one, it is a chapter 11 case

interpreting section 1109 and does not purport to address or change the longstanding rule regarding

standing in a chapter 7 liquidation. Cf. Hartford Underwriters Ins. Co. v. Union Planters Bank,

N.A., 530 U.S. 1, 8 (2000) (stating, in a chapter 7 case, that section 1109’s language regarding a

“party in interest” was “by its terms inapplicable here”).10 In fact, the additional case Jones relies

upon, In re Team Sys. Int’l, LLC, 2024 WL 4647489 (Bankr. D. Del. Oct. 21, 2024), actually

demonstrates that the rule precluding standing to hopelessly insolvent debtors survived Kaiser

Gypsum. Id. at *2 (discussing Kaiser Gypsum yet still requiring a possibility of a surplus). Cases

issued after Kaiser Gypsum, including by the Fifth Circuit (albeit in a slightly different context),

similarly continue to require a possibility of a surplus. See, e.g., In re Okorie, 2024 WL 4471734,

at *2 (5th Cir. Oct. 11, 2024) (requiring equity interest holders to demonstrate the possibility of a


10
  See also 9 COLLIER ON BANKRUPTCY ¶ 3007.01[2] n. 19 (“The term ‘party in interest’ may have a different meaning
from section to section, and a ‘party in interest’ under section 1109(b), for example, will not necessarily be a party in
interest in a chapter 7 case.”). In fact, as Collier’s explains, the broad construction of section 1109 reflects the policies
of the chapter 11 process, which was “was designed to provide a forum for the negotiated resolution of the debtor’s
case in a manner that is as inclusive and accommodating as possible.” 7 COLLIER ON BANKRUPTCY ¶ 1109.01[3][a].
“Whereas the aim of a Chapter 7 liquidation is the prompt closure and distribution of the debtor’s estate, Chapter 11
provides for reorganization with the aim of rehabilitating the debtor and avoiding forfeitures by creditors.” Pioneer
Inv. Services Co. v. Brunswick Assocs. Ltd., 507 U.S. 380, 389 (1993).


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surplus); In re Ghatanfard, 2024 WL 4707931, at *3 (S.D.N.Y. Nov. 7, 2024) (applying the

general rule); In re O’Hara, 2024 WL 4438720, at *1 & n.2 (Bankr. W.D. Mich. Oct. 5, 2024)

(same); White-Lett v. RRA CP Opportunity Tr. 1, 2024 WL 4331925, at *7 (N.D. Ga. Aug. 19,

2024) (same).

       23.      By any definition, Jones’s bankruptcy estate is “hopelessly insolvent.” There are

almost $1.4 billion in claims—a sum that dwarfs the value of the assets of his estate. And although

Jones argues that he is appealing the state court judgments, on December 6, 2024, the Connecticut

appellate court upheld approximately $1.3 billion in judgments against FSS and Jones. See

Lafferty l. v. Jones, Case Nos. AC 46131, 446132 & 46133 (Conn. App. Dec. 10, 2024). Even if

that decision was further appealed, Jones needs a clean sweep of both the Texas and Connecticut

judgments in order to have any hope of a surplus. To illustrate, merely reducing his debt by $1

billion would still not create even a remote possibility of a surplus. The Fifth Circuit is clear that

there is no standing where “speculative prospect of harm is far from a direct, adverse, pecuniary

hit.” In re Technicool Sys., Inc., 896 F.3d 382, 386 (5th Cir. 2018). Jones may not like the state

court judgments, but that does not mean he can ignore them to create standing here based on the

mere suggestion he may one day be able to recover the assets slated for sale. See In re Gentile,

492 B.R. 580, 584–85 (B.A.P. 1st Cir. 2013) (rejecting chapter 7 debtors’ argument that the

pending appeal of a state court judgment required staying a section 363 sale of their investment

properties given the potential of a surplus should they prevail).

       24.      Perhaps recognizing that there is no conceivable surplus from the estate, Jones

further argues that the sale to the Successful Bidder would harm his personal brand and ability to

act as a media figure. See Debtor’s Objection ¶¶ 13–14. Courts have rejected the notion that the

risk of reputational harm can create bankruptcy standing, particularly when none of the creditors



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have objected. See In re WBE Co., Inc., 2010 WL 2867426, at *5 (Bankr. D. Neb. July 20, 2010)

(describing the debtor’s standing to object to a compromise as “tenuous,” where although there

was a realistic possibility of a surplus, the objection was based more on reputational impact and

no creditor objected); see also In re Davidson, 402 B.R. 87, 8827 (Bankr. S.D. Ind. 2009) (holding

that only pecuniary (i.e., monetary) interests confer standing to object).11 Speculative, indirect

impacts of a bankruptcy order do not confer standing. In re The Watch Ltd., 257 F. App’x 748, at

*2 (5th Cir. 2007) (unpublished) (“Conjectural or hypothetical injuries do not support standing.”);

Adams, 424 B.R. at 437 (notwithstanding that a higher sale price could reduce the debtors’ post-

bankruptcy liability, the fact they would never receive a distribution precluded standing).

        25.      Accordingly, because the Debtor lacks standing with respect to the Sale Motion, he

cannot be permitted to prosecute the Debtor’s Objection. See, e.g., In re Morreale, 2015 WL

3897796, at *7–10, 13 (Bankr. D. Colo. June 22, 2015) (striking a chapter 7 debtor’s objections to

a trustee’s sale motions).

III.    Jones Cannot Assert the Rights of Third Parties

        26.      Although PQPR itself has not objected to the Sale Motion, the Debtor’s Objection

makes a passing reference to PQPR’s purported liens (which are themselves subject to an

adversary proceeding) and the Texas Plaintiffs’ state court turnover order. This is not Jones’

complaint to raise because he lacks standing. Specifically, a litigant lacks standing to raise the

rights of third parties unless “three important criteria are satisfied: The litigant must have suffered

an injury in fact, thus giving him or her a sufficiently concrete interest in the outcome of the issue

in dispute; the litigant must have a close relation to the third party; and there must exist some



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  After all, the party objecting to the plan Kaiser Gypsum was an insurer with responsibility for bankruptcy claims,
and thus directly and adversely affected by the plan. Kaiser Gypsum., 602 U.S. at 277.


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hindrance to the third party’s ability to protect his or her own interests.” Powers v. Ohio, 499 U.S.

400, 410–11 (1991). Jones does not (and cannot) satisfy these standards.

         27.      Accordingly, he lacks standing to object based on the alleged rights of PQPR or the

Texas Plaintiffs, which have not raised those objections to the proposed sale. See Cole v. Rescia,

2022 WL 4536830, at *9 (D. Conn. Sept. 28, 2022) (holding that the chapter 7 debtor could not

object to a sale on the grounds that the trustee sought to sell property belonging to the debtor’s

business partner).

IV.      Jones Does Not Have Standing to Appeal the State Court Judgment on Behalf of FSS

         28.      The assumption underlying much of the Debtor’s Objection is that both the Texas

and Connecticut state court judgments will be overturned on appeal. The Connecticut Opinion has

now been issued and largely held against Jones, whereas the appeal of the Texas judgment has

been abated by agreement of the parties. See Ex. A; see also Jones v. Heslin, No. 03-23-00209-

CV (Tex. App.—Austin, Sept. 9, 2024). While Jones insists he will pursue these appeals (and

ultimately prevail), he overlooks that, according to the Fifth Circuit, “it is well established that the

right to appeal is property of the estate.”12 In re Croft, 737 F.3d 372, 377–78 (5th Cir. 2013).13

         29.      It is not Jones’ prerogative, at this juncture, to elect to continue the appeal of the

Texas judgment or launch an additional appeal of the Connecticut judgment.




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   Further, the fact a debt may be non-dischargeable does not alter this conclusion, as one of the cases relied on by
the Fifth Circuit demonstrates. In re Mozer, 302 B.R. 892, 896 (C.D. Cal. 2003) (“To be sure, sale of the Defensive
Appellate Rights may be unhelpful to her in defeating a non-dischargeability claim, but she is in no worse position
than if she were permitted to pursue the state court appeal and lost.”).
13
   Accord Krafick v. Krafick, 663 A.2d 365, 370–71 (Conn. 1995) (endorsing Black’s definition of “property” as
“everything which is the subject of ownership, corporeal or incorporeal, tangible or intangible, visible or invisible,
real or personal; everything that has an exchangeable value or which goes to make up wealth or estate. It extends to
every species of valuable right and interest, and includes real and personal property, easements, franchises, and
incorporeal hereditaments.”).


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V.     The Court Should Strike the Untimely Objection

       30.     At the November 25, 204 hearing, the Court established a deadline of 5:00 p.m.

CST on December 6, 2024, to file objections to the Sale Motion. In complete disregard of this

deadline, Jones filed the Untimely Objection. And although Jones styles it as a “Corrected”

objection, he admits that the Untimely Objection does not simply correct the Debtor’s Objection

but has “been further updated with certain testimony of the Trustee and the Auctioneer.” A

comparison of the two filings reveals Jones’ supplementation of the Debtor’s Objection was both

substantial and substantive.

       31.     Accordingly, the Trustee moves to strike the Untimely Objection on this basis, and

should the Court choose to excuse Jones’ tardiness, the Trustee incorporates the arguments made

against the Debtor’s Objection and further reserves to respond to the new material added by the

Untimely Objection.

                                          CONCLUSION

       WHEREFORE, in light of the hopelessly insolvent nature of both FSS and the Jones estate

and the Debtor’s failure to schedule, much less claim as exempt, the FSS IP Assets, the Trustee

respectfully requests that the Court strike (a) the Debtor’s Objection and the Untimely Objection

with prejudice based on Jones’s lack of standing, (b) grant the Sale Motion, and (c) grant the

Trustee all such other and further relief to which he is justly entitled.




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Dated: December 8, 2024
Houston, Texas.

                                            Respectfully submitted,

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                                            7 Trustee




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                                CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing objection has been served on
all parties receiving or entitled to notice through CM/ECF in the above-captioned proceeding on
December 8, 2024.

                                                     /s/ Joshua W. Wolfshohl
                                                     Joshua W. Wolfshohl




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